Criminal prosecution tried upon an indictment charging the defendant with manufacturing spirituous liquors in violation of C. S., 4453.
From an adverse verdict and judgment pronounced thereon, the defendant appealed.
Defendant relies entirely upon his demurrer to the evidence and motion for dismissal, or for judgment as of nonsuit under C. S., 4643. Viewing the evidence in the light most favorable to the State, the accepted position on a motion of this kind (S. v. Rountree, 181 N.C. 535), we think the trial court was justified in submitting the case to the jury, and that the verdict is fully supported by the evidence.
No benefit would be derived from detailing the testimony of the several witnesses, as the only question before us is whether it is sufficient to carry the case to the jury, and we think it is.
No error.